     Case 1:18-cv-01204-JTN-ESC ECF No. 9 filed 01/04/19 PageID.27 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN

LARRY SEVENSKI,

        Plaintiff,

v.                                              CASE NO: 1:18-cv-01204
                                                HON. JANET T. NEFF

BROCK ARTFITCH,
in his individual and official capacity,

        Defendant.

 CHRISTOPHER TRAINOR & ASSOCIATES              JOHN G. FEDYNSKY (P65232)
 CHRISTOPHER J. TRAINOR (P42449)               Assistant Attorney General
 AMY J. DEROUIN (P70514)                       Attorney for Defendant
 Attorneys for Plaintiff                       PO Box 30736
 9750 Highland Road                            Lansing, MI 48909
 White Lake, MI 48386                          517-335-3055
 (248) 886-8650 / (248) 698-3321-fax           fedynskyj@michigan.gov
 amy.derouin@cjtrainor.com

 PLAINTIFF’S RESPONSE TO DEFENDANT BROCK ARTFITCH’S AFFIRMATIVE
                  DEFENSES AND PROOF OF SERVICE




                                           1
   Case 1:18-cv-01204-JTN-ESC ECF No. 9 filed 01/04/19 PageID.28 Page 2 of 2




        NOW COMES Plaintiff, LARRY SEVENSKI, by and through his attorneys,

CHRISTOPHER TRAINOR & ASSOCIATES, and hereby denies each and every one of

Defendant’s Affirmative Defenses either previously or hereinafter filed, and specifically leaves

each Defendant to their proofs of every affirmative defense.

                                          Respectfully Submitted,
                                          CHRISTOPHER TRAINOR & ASSOCIATES

                                          s/Amy J. DeRouin
                                          CHRISTOPHER J. TRAINOR (P42449)
                                          AMY J. DEROUIN (P70514)
                                          Attorneys for Plaintiff
                                          9750 Highland Road
                                          White Lake, MI 48386
                                          (248) 886-8650
                                          amy.derouin@cjtrainor.com
Dated: January 4, 2019
AJD/sls


CERTIFICATE OF SERVICE


I hereby certify that on January 4, 2019, I electronically
filed the foregoing paper with the Clerk of the Court using
the ECF system which will send notification of such filing
to the following: all attorneys of record and I hereby
certify that I have mailed by United States Postal Service
the paper to the following non-ECF participants: None.

s/Amy J. DeRouin (P70514)
9750 Highland Road
White Lake, MI 48386
Phone: (248) 886-8650
amy.derouin@cjtrainor.com




                                                     2
